YN DH A ff WwW WN

eo

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

 

 

Case 2:15-cv-02448-TLN-KJN Document 152 Filed 11/15/19 Page 1 of 4

Daniel Gonzalez F I L E D

4300 Black Avenue
P.O. Box 847 NOV 15 2018
Pleasanton CA 94566 eo

5 DISTAYCT COURT
Telephone (916) 247-6886 EASTERN DISTRICT gE AVIFORNIA

 

by DEPUTY 5. JAK

Plaintiff, Pro Se

UNITED STATES DISTRICT COURT

FOR THE EASTERN DISTRICT OF CALIFORNIA

DANIEL E. GONZALEZ, CASE NO. No.: 2:15-CV-2448 TLN KJN
PLAINTIFF’S NOTICE OF MOTION TO
ALTER OR AMEND ORDER ENTERED ON
OCTOBER 17, 2019

[Fed. R. Civ. P. 59 & 60]

Plaintiff,

VS.

BUREAU OF REAL ESTATE, et al, Hearing Date: January 23, 2020

Time: 10:00 a.m.

Courtroom: 25, 8th floor

Judge: Hon. Kendall J. Newman

Defendants.

di i dd ed

TO ALL DEFENDANTS AND THEIR COUNSEL OF RECORD:

PLEASE TAKE NOTICE that at 10:00 a.m. on January 23, 2020, in Courtroom 25, 8th Floor,
United States District Court, 501 I Street, Sacramento, California, 95814 or as soon thereafter as may be
heard, Daniel Gonzalez (the “Plaintiff’) will and hereby does move for an order altering or amending
the Order modifying the discovery schedule entered on October 17, 2019. (ECF No. 151)! This motion
is made pursuant to Federal Rule of Civil Procedure Rules 59(e), 60(b), and/or 60(d).

A district court has “considerable discretion” when considering a motion to amend a judgment
under Rule 59(e). McDowell v. Calderon, 197 F.3d 1253, 1254 n. 1 (9th Cir.1999) (quoting Charles
Alan Wright, Arthur R. Miller & Mary Kay Kane, Federal Practice and Procedure § 2810.1 (2d

ed.1995)). There are four grounds upon which a Rule 59(e) motion may be granted: 1) the motion is

 

1 Received by plaintiff on October 19, 2019. See, Fed. Civ. Proc., Rule 5(b)(2).

PLAINTIFF'S NOTICE OF MOTION TO ALTER OR AMEND ORDER ENTERED OCTOBER 17, 2019 — PAGE 1

 
Co CO NSN DO AO Se RH NY

wo NO YN HN NHN WN WN HN HN KK ee HK Fe Ke RO BO RS Be
Oo SND DO A SFP WD NY S&F DOD OD eH HS DB A FP WY NY KS SO

 

 

Case 2:15-cv-02448-TLN-KJN Document 152 Filed 11/15/19 Page 2 of 4

"necessary to correct manifest errors of law or fact upon which the judgment is based;" 2) the moving
party presents "newly discovered or previously unavailable evidence;" 3) the motion is necessary to
"prevent manifest injustice;" or 4) there is an "intervening change in controlling law." Jd; see also,
Turner v. Burlington Northern Santa Fe R. Co., 338 F.3d 1058, (9th Cir. 2003) G@nternal quotations
omitted).

"The law in this circuit is that errors of law are cognizable under Rule 60(b). (Liberty Mut. Ins.
Co. v. EEOC, 691 F.2d 438, 441 (9th Cir. 1982) (citation omitted)). FRCP 60(b) permits a party to seek
review of an unfavorable judgment or order directly from the district court. Specifically, FRCP 60(b)
allows a party to seek relief from a final judgment, order or proceeding directly from the district court

judge in the following circumstances:
e Mistake, inadvertence, surprise, or excusable neglect (FRCP 60(b)(1)).

e Newly discovered evidence that, with reasonable diligence, could not have been discovered
in time to move for a new trial under FRCP 59(b) (FRCP 60(6)(2)).

e Fraud (whether previously called intrinsic or extrinsic), misrepresentation or misconduct by
an opposing party (FRCP 60(b)(3)).

e The judgment is void (FRCP 60(b)(4)).

¢ The judgment has been satisfied, released or discharged; it is based on an earlier judgment
that has been reversed or vacated; or applying it prospectively is no longer equitable (FRCP

60(b) (5)).

e Any other reason that justifies relief (FRCP 60(b)(6)).

Rule 60(d) grants authority to alter or amend the scheduling order. Subsection 60(d)(1) permits
filing an independent action without limit of the court’s power to relieve a party from a judgment, order,
or proceeding. Subsection Rule 60(d)(2) grants relief under 28 U.S.C. §1655 to a defendant who was
not personally notified of the action. Further, Rule 60(d)(3) grants relief to set aside a judgment for

fraud on the court.

As a relevant basis to alter or amend the prior scheduling Order entered on October 17, 2019,
plaintiff intends to subsequently set forth objections per Rule 30(c)(2). Furthermore, plaintiff intends to
submit a motion to terminate or limit his deposition pursuant to Rule 30(d)(3)(A) on the ground that it is

being conducted in bad faith or with the sole purpose to further unreasonably annoy, embarrass, or

PLAINTIFF’S NOTICE OF MOTION TO ALTER OR AMEND ORDER ENTERED OCTOBER 17, 2019 — PAGE 2

 
wa

oO Oo sD

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

 

 

Case 2:15-cv-02448-TLN-KJN Document 152 Filed 11/15/19 Page 3 of 4

oppress plaintiff. Once a Rule 30(d)(3)(A) motion files demanding relief in this pending action, the

deposition must be suspended for the time necessary to.obtain an order. Rule 30(d)(3)(B).

The Order entered on October 17, 2019, based on a limited record presented by the defendants,
reset only expert discovery dates without a hearing. Such a motion without a scheduled hearing date
deprived plaintiff the opportunity to present countervailing evidence. These omitted discovery matters
are pertinent to the claims of due process, equal protection, and malice, oppression, or fraud which have
been complained of in this action. (ECF Nos. 146, 142, 131, 124, 123, 119, 117, 113, 105, 104, 99, 92-
97, 89, 74, 61, 48, 44, 43, 37-41, 6, 1.)

The Order at issue unilateral favor to the Department (Bureau) of Real Estate, its officers, and
employees, is a clear legal error without conducting an evidentiary hearing. See, Johnson v. Finn, 665
F.3d 1063, 1075-76 (9th Cir. 2011) ("Because the petitioners’ interest in the vindication of their rights is
immense, because the administrative burden of an additional hearing is relatively minor, and because a
credibility determination based on a cold record is substantially more likely to be in error than one based
on an in-person evaluation of a witness, the district judge deprived [the defendants] of due process when
he declined to afford them a new evidentiary hearing.") The Ninth Circuit mandates such an
evidentiary hearing to preserve equality, judicial integrity, and truth by an unbiased factfinder. See,
United States v. Thorns, 684 F.3d 893, at 903 (9th Cir. 2012) (noting that the newly announced rule was
designed "to further the integrity and accuracy of our judicial process and to facilitate the search for

truth")

This Notice of Motion is based on the additional grounds that:

1) The Order is clear error in not extending collateral discovery dates from the February
22, 2019, scheduling (ECF No.136) as there exist a necessity for several subsequent
noticed motions to compel objecting or non-responding third parties to comply with
subpoenas issued from this Court to produce discoverable evidence;

2) The Order is clear error as there exist necessity for plaintiff to complete arrangements
for depositions of California judges Thadd A. Blizzard and Michael P. Kenny, and
Associate Justice M. Kathleen Butz, through the Judicial Council of California which
the Order entered on October 17, 2019, does not provide adequate discovery
deadlines;

3) The Order is clear error in not extending collateral discovery dates from the February
22, 2019, scheduling (ECF No.136) as a necessity exist for a subsequent noticed

PLAINTIFF’S NOTICE OF MOTION TO ALTER OR AMEND ORDER ENTERED OCTOBER 17, 2019 — PAGE 3

 
Oo Oo IN DB Nn BP WwW NYO

NO NO WN HN Hb WH NY NH NO | KF YF KF HF FEF POO SES El
eo SN KN ON BB WD NHN KF DBD BO Fe HS DB mH BP WD NY | OC

 

 

Case 2:15-cv-02448-TLN-KJN Document 152 Filed 11/15/19 Page 4 of 4

4)

5)

6)

7)

8)

motion to have prior deposition testimony entered in this action for the purpose of
impeachment;

The Order is clear error in not extending collateral discovery dates from the February
22, 2019, scheduling (ECF No.136) as a necessity exist for plaintiff to seek relief
through a subsequent noticed motion for a TRO and Preliminary Injunction (ECF No.
146, 147) to regain possession and ownership of his real property based on retaliatory
acts and purposeful discrimination by State Defendants;

The Order is clear error as there exist a necessity for declaratory and injunctive
prospective relief (ECF No. 146, 147) requesting this District Court comply with the
spirit of clearly established law set forth in Bell v Burson, 402 U.S. 535, 541-542
(1971), which precluded the Department of Real Estate or State courts from violating
Due Process by imposing discipline of a licensee if 3 legal criteria establish no fault;

The Order is clear error as there exist a necessity for declaratory and injunctive
prospective relief (ECF No. 146, 147) requesting this District Court comply with the
spirit of clearly established law held in Devereaux v. Abbey (Devereaux), 97-35781,
263 F.3d 1070, 1075 (9th Cir. 2001), re-affirmed in Costanich v. Department of
Social and Health Services, 627 F.3d 1101 (9th Cir. 2010), which precluded the
investigators and attorneys of the Department of Real Estate to deliberately fabricate
evidence or conceal a prior court adjudication resulting in violation of Due Process
and Equal Protection, is not entitled to qualified immunity;

The Order is clear error as there exist a necessity for declaratory and injunctive
prospective relief (ECF No. 146, 147) requesting this District Court comply with the
spirit of clearly established law that an investigation continued by state actors after
knowing the person is innocent is not entitled to qualified immunity and violated the
First Amendment as held in White v Lee, 227 F.3d 1214, 1228 (9th Cir. 2000); -

any additional law, facts, or admissible evidence which warrant altering, amending,
or vacating the Order entered on October 17, 2019.

This Notice of Motion will be based on the subsequent Points and Authorities and referenced

transcript of proceedings, the pleadings and papers on file in this action, and such argument as may be
presented prior to or during the hearing.

DATED: November 14, 2019

Respectfully submitted,

By: Qe, cs Q J fereneclye

Daniel Gonzalez, Plaintiff

PLAINTIFF’S NOTICE OF MOTION TO ALTER OR AMEND ORDER ENTERED OCTOBER 17, 2019 — PAGE 4

 
